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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)
  OBERMAYER REBMANN MAXWELL & HIPPEL LLP
  Edmond M. George, Esquire
  Michael D. Vagnoni, Esquire (pro hac vice)
  Turner N. Falk, Esquire
  1120 Route 73, Suite 420
  Mount Laurel, NJ 08054-5108
  Telephone: (856) 795-3300
  Facsimile: (856) 482-0504
  E-mail: edmond.george@obermayer.com
           michael.vagnoni@obermayer.com
           turner.falk@obermayer.com

  Counsel to the Debtor
  and Debtor in Possession

  In re:                                                       Chapter 11

  ALUMINUM SHAPES, L.L.C.,                                     Case No. 21-16520-JNP

                              Debtor.


  ALUMINUM SHAPES, L.L.C.,                                     ADVERSARY NO.
                                                               21-01392-JNP
                               Plaintiff,
           v.

  THE ULTIMATE SOFTWARE GROUP, INC.
  A/K/A ULTIPRO,

                               Defendant.



TO: ALL INTERESTED PARTIES

                        NOTICE OF STATUS AND ADJOURNMENT

       The Debtor, Aluminum Shapes, L.L.C., hereby provides notice that; the below-listed

hearings, currently scheduled to be heard by the Court on October 28, 2021, at 1:00 P.M., are either

adjourned, withdrawn, or settled as follows:
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       1.     The Debtor’s Motion to Seal as to Exhibits “A” and “B” of the Debtor’s Motion to

              Approve the KERP and the KEIP is CONTINUED to November 4, 2021, at 11:00

              A.M.

       2.     The Debtor’s Motion to Approve the KERP and the KEIP is CONTINUED to

              November 4, 2021, at 11:00 A.M.

       3.     The Debtor’s Motion to Sell/For Bidding Procedures and Related Relief is

              CONTINUED to November 12, 2021, at 10:00 A.M.

       4.     The Hearing to Show Cause as to the injunctive relief sought by the Debtor against

              Ultimate Software Group, Inc. is CONTINUED to November 12, 2021, at 10:00

              A.M.

       5.     The Debtor’s Motion to Approve Use of Cash Collateral is WITHDRAWN.

       6.     Ford Motor Company’s Motion for Relief from the Automatic Stay is SETTLED

              by way of an Order to be submitted.

All other hearing dates in this matter remain unchanged.



                                                    Respectfully submitted,
Dated: October 27, 2021                 By:         /s/ Edmond M. George
                                                    Edmond M. George, Esquire
                                                    Michael D. Vagnoni, Esquire (pro hac vice)
                                                    Turner N. Falk, Esquire
                                                    OBERMAYER REBMANN MAXWELL &
                                                    HIPPEL, LLP
                                                    1120 Route 73, Suite 420
                                                    Mount Laurel, NJ 08054-5108
                                                    Telephone: (856) 795-3300
                                                    Facsimile: (856) 482-0504
                                                    Counsel to Chapter 11 Debtor,
                                                    Aluminum Shapes, L.L.C.
